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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ANSLY DAMUS,

        Petitioner,                       Civil No. 18-12821

v.                                        Honorable Judith E. Levy

REBECCA ADDUCCI,                          Mag. Judge Elizabeth A. Stafford
in her official capacity, et al.,

        Respondents.


        STIPULATED ORDER DISMISSING CASE WITH PREJUDICE

        WHEREAS the Respondents have agreed to parole Mr. Damus from

immigration custody before 5 p.m. on November 30, 2018 in Cleveland Heights,

Ohio;

        WHEREAS Petitioner has agreed to electronic monitoring in the form of an

ankle monitor, subject to the standard terms of such monitoring, which allow him

to request removal of the monitor after 60 days and again after 90 days, and which

require ICE to consider those requests;

        WHEREAS Petitioner agrees to reside with his previously identified

sponsors, Gary Benjamin and Melody Hart, at their residence;

        WHEREAS Petitioner agrees not to change his residence without a

modification to his terms of parole agreed to by the agency;
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      WHEREAS the Parties both agree that Petitioner and the Agency are bound

by all standard statutory and regulatory duties, terms, and limitations related to

parole;

      THEREFORE, the parties having entered into a settlement agreement, and

pursuant to the agreement of the parties, IT IS HEREBY ORDERED that this case

is dismissed with prejudice, with each party to bear its own costs.

      IT IS SO ORDERED.

Dated: November 29, 2018                             s/Judith E. Levy
                                                     JUDITH E. LEVY
                                                     United States District Judge



SO STIPULATED AND AGREED TO BY:

AMERICAN CIVIL LIBERTIES     MATTHEW SCHNEIDER
UNION FOUNDATION IMMIGRANTS’ United States Attorney
RIGHTS PROJECT

By: /s/ David Hausman (with permission)        By: /s/ James J. Carty
DAVID HAUSMAN (NY 5510011)                     JAMES J. CARTY (P74978)
125 Broad St., 18th Floor                      Assistant United States Attorney
New York, New York 10004                       211 W. Fort Street, Suite 2001
Office: (212) 549-2660                         Detroit, Michigan 48226
Facsimile: (212) 549-2654                      Office: (313) 226-9705
Email: dhausman@aclu.org                       Facsimile: (313) 226-3271
Attorney for Petitioner                        Email: james.carty@usdoj.gov
                                               Attorneys for Respondent

Dated: November 29, 2019                       Dated: November 29, 2019


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